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                          Exhibit 111
Alexsej Gubarev Photo
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                      CONFIDENTIAL INFORMATION PURSUANT TO PROTECTIVE ORDER
         Subject: Alexsej Gubarev Photo
         From: "Jahamaliah, Modupeh" <modupeh.jahamaliah@kglobal.com>
         Date: 1/14/2017 10:41 AM
         To: "Jose.Pagliery@turner.com" <Jose.Pagliery@turner.com>
         CC: "Dolan, Charles" <charles.dolan@kglobal.com>

         Hi Jose—

         AƩached please find a photo to use for Alex. Also, the correct spelling of his name is Aleksej Gubarev. Let me know if
         you need any further informaƟon!

         Thanks,
         Modupeh

         modupeh jahamaliah
         account executive

         kglobal
         public affairs + public relations

         phone: 202.538.5875
         Twitter: @modupehbella
         kglobal.com/modupeh-jahamaliah


           Alexsej Gubarev Official Photo.jpg




                                                                                                             P-P000157
1 of 2                                                                                                              11/30/2017 4:58 PM
Alexsej Gubarev Photo
          Case 0:17-cv-60426-UU Document 212-113 Entered on FLSD Docket 09/21/2018 Page 3 of 3
                      CONFIDENTIAL INFORMATION PURSUANT TO PROTECTIVE ORDER




           Attachments:


           Alexsej Gubarev Oﬃcial Photo.jpg                                          14.1 MB




                                                                                 P-P000158
2 of 2                                                                                11/30/2017 4:58 PM
